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                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                                 :
                         Plaintiff                        :
                                                          :
                v.                                        :        Civil Action No.
                                                          :
THE PENNSYLVANIA STATE                                    :
UNIVERSITY                                                :
                                                          :
                         Defendants                       :


                                            COMPLAINT

        Plaintiff, John Doe1, a 3rd-year Penn State Electrical Engineering student,

files this civil rights lawsuit seeking to invalidate a two-semester disciplinary

suspension based upon a Title IX Hearing Panel’s finding that he violated the

University’s Code of Conduct’s sexual misconduct policy. This finding was the

product of a deeply flawed, unconstitutional disciplinary process that deprived Doe

of the most basic due process protections, including the rights to: call witnesses on

his own behalf; confront and cross examine his accuser and adverse witnesses; a

fair, unbiased and unconflicted tribunal comprised of individuals who are separate

and apart from, and not under, the auspices of the University’s Office of Student


1
   Contemporaneously with the filing of this Complaint, Plaintiff is filing a Motion for Permission to
Proceed Under Pseudonym, seeking permission of the Court to proceed anonymously given the extremely
sensitive and private nature of the matters alleged herein. Plaintiff refers to the female complainant in the
underlying student disciplinary proceeding as “Jane Roe”. As more fully set forth in the Motion, the
University is fully aware of the actual identities of John Doe and Jane Roe and will not be prejudiced in
any way by John Doe’s use of those pseudonyms for public filings.
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Conduct “prosecutor”; the presumption of innocence; the active and meaningful

participation of his attorney “advisor”, including their right to cross examine adverse

witnesses; the equal opportunity to review and respond to evidence; an objective

evaluation of all relevant evidence including exculpatory evidence; equal access to

review all the evidence that the school investigator has collected, including the

investigative report, and; an equal opportunity to respond to that evidence before a

determination is made.        John Doe filed this lawsuit because Penn State’s

Investigative Model denied him his right to due process and deprives him of his right

to an education, his Penn State degree, sullies his reputation, jeopardizes his future

livelihood, and has caused him significant emotional distress.

                                     PARTIES

      1.     Plaintiff John Doe is an undergraduate student majoring in Electrical

Engineering at the Penn State University. At the time of the alleged incident, Mr.

Doe was a 19-year-old sophomore at the Penn State Altoona campus.

      2.     Defendant The Pennsylvania State University (“Penn State”) is an

educational institution established and operated by the Commonwealth of

Pennsylvania with a principal place of business at 201 Old Main, University Park,

Pennsylvania. Penn State’s Title IX and Office of Student Conduct are located at

the University Park campus. Penn State operated under color of state law at all times

relevant to this complaint.


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                                   JURISDICTION AND VENUE

          3.       This Court has jurisdiction over Plaintiff's claims arising under the

United States Constitution and 42 U.S.C. §§ 1983 and 1988 pursuant to 28 U.S.C.

§§ 1331 and 1343.

          4.       This Court has authority to issue the declaratory and injunctive relief

sought in this matter pursuant to 28 U.S.C. §§ 2201 and 2202, 42 U.S.C. § 1983, and

Federal Rules of Civil Procedure 57 and 65.

          5.       This Court has venue for this claim pursuant to 28 U.S.C. § 1391. The

defendants are residents of the State in which this district is located and a substantial

part of the events or omissions giving rise to the claim, including the disciplinary

hearing and appeal, occurred in this district.

                                                   FACTS2

A.        Penn State Adopts and Pilots an “Investigative Model”

          6.       On April 4, 2011, the U.S. Department of Education’s Office for Civil

Rights disseminated a “Dear Colleague Letter” to colleges and universities

(hereinafter referred to as the “Dear Colleague Letter”), including Penn State, that

received federal funding. The Dear Colleague Letter provides a necessary set of

background facts to this current action.3



2   All of the exhibits referenced in this Complaint are being filed under seal due to their contents.
3   See Exhibit A.


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        7.      The Dear Colleague Letter advised that, in order to comply with Title

IX, colleges and universities must have prompt procedures to investigate and resolve

sexual misconduct complaints. The Dear Colleague Letter required schools to adopt

a “preponderance of the evidence standard” in sexual misconduct cases. The Dear

Colleague Letter stated that schools should “minimize the burden on the

complainant,” and encouraged universities to focus more on victim advocacy rather

than due process concerns.

        8.      After the Dear Colleague Letter was published, many schools,

including Penn State, revised their sexual assault and sexual harassment policies and

procedures to ensure compliance with Title IX, under a threat of rescission of federal

funding.4

        9.      On July 2, 2014, less than two months after taking office, Penn State

University President Eric Barron announced the formation of a Task Force on Sexual

Assault and Sexual Harassment and charged it with making recommendations that

would allow the University to “become the benchmark by which other universities

are judged when it comes to sexual misconduct prevention and response.”5



4
  In July 2014, Catherine Lhamon, former Assistant Secretary of ED, speaking at a conference on campus
sexual assault held at Dartmouth College, stated that she was prepared to cut off federal funding to schools
that violate Title IX and that she would strip federal funding from any college found to be non-compliant
with the requirements of the Dear Colleague Letter. Meredith Clark, “Official to colleges: Fix sexual assault
or lose funding,” July 15, 2014 (available at http://www.msnbc.com/msnbc/campus-sexual-assault-
conference-dartmouth-college).
5
  Exhibit B, Task Force on Sexual Assault and Sexual Harassment Report, January 23, 2015, p.1;
http://www.psu.edu/ur/2014/Task_Force_final_report.pdf, hereafter, the “Report.”


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      10.    In its January 23, 2015, final report, the Task Force acknowledged that

the context for its recommendation included:

      A growing national debate about higher education’s response to the
      problem of sexual and relationship violence. The White House and
      Congressional leaders, spurred by student activists on college and
      university campuses, convened various groups to discuss the issue.
      Multiple federal guidelines were published. National higher education
      organizations sponsored related conversations across the country. The
      nation’s news media increasingly focused their attention to the conflicts
      inherent in the problem. And the Department of Education continued to
      add new schools to its list of those colleges and universities under
      investigation for Title IX concerns—a sum that numbered eighty-six by
      early November, many of them among the most notable higher
      education institutions in the country, including Penn State.

      11.    Less than a month later, President Barron adopted each of the Task

Force’s 18 recommendations, including its recommendation that “the student

conduct process at each campus move away from the traditional hearing process and

embrace instead an investigative model for resolving sexual misconduct cases.”

      12.    This “Investigative Model” relied upon the use of an investigator, rather

than an adversarial process before a neutral hearing board, to conduct the required

fact finding in Title IX cases.

      13.    Prior to the inception of the Investigative Model, disciplinary

proceedings addressing sexual misconduct claims provided the accused with the

right to a hearing where the parties and witnesses testified in-person before a fact-

finder and were subject to cross-examination.




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           14.      Prior to the inception of the Investigative Model, Penn State’s

disciplinary proceedings addressing sexual misconduct claims afforded the accused

the same types of protections that students accused of other acts of misconduct, most

far less serious, were afforded.

           15.      Although the initial Investigative Model provided for paperless

“hearings” only, the University revised and reissued their Title IX procedures twice

in 2016. On information and belief, John Doe was investigated under the November

3, 2016, revision of the Code of Conduct (“the Code”6) and Office of Sexual

Misconduct Prevention & Response’s Student Title IX Report Procedures at

www.titleix.psu.edu. On information and believe, the Student Title IX Report

Procedures in place at the time John Doe was investigated is similar to the

procedures currently in place.

B.         Penn State’s Code’s “Special Protocols for Title IX Allegations”

           16.      Penn State’s Office of Student Conduct (“OSC”) is responsible for

administering the University’s discipline system and promulgated the Code of

Conduct to outline the “standard procedures and practices of the University

discipline process”. The Code created “[s]pecial procedures . . . (Section V, D) for

cases involving Title IX violations.”7



6
    Exhibit C.
7
    Id. at pg. 2.


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        17.     OSC refers all cases involving sexual misconduct allegations to the

University’s Office of Sexual Misconduct Prevention and Response (“OSMPR”)

which is responsible for “investigating allegations of Title IX violations.” The

OSMPR will “typically investigate such allegations” using an investigator

designated by the Title IX Coordinator who will attempt to gather whatever relevant

information may be reasonably available regarding the alleged incident. 8 This may

include interviewing the Complainant, Respondent, and/or any other witnesses who

are identified during the course of the investigation, as well as gathering available

documentary, electronic, or physical evidence.9 Parties will be provided with

adequate notice of the investigation and a meaningful opportunity to be heard.10

        18.     The parties are permitted to have an “advisor,” defined as any “person

selected by the respondent or complainant to assist and accompany them through the

University        conduct        process        (including        Disciplinary         Conferences,

Administrative/University Conduct Board Hearings, Sanction Reviews, and formal

Appeals).”11 The Code prohibits the advisor from “perform[ing] any function in the

process other than advising the party and may not make a presentation or represent




8 The 11/3/16 version of the OSC policy states the “OSMPR will typically investigate such allegations
utilizing the process articulated at http://titleix.psu.edu.” See Exhibit C, 11/3/16 OSC policy, pg. 13.
9 Exhibit C, 11/3/16 OSC policy, pg. 3, 13; Penn State Student Title IX Report Procedures at

http://titleix.psu.edu/psu-title-ix-procedures/ .
10 Penn State Student Title IX Report Procedures at http://titleix.psu.edu/psu-title-ix-procedures/ .
11 Exhibit C, 11/3/16 OSC policy, pg. 3.




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the party.”12 The advisor “may not speak on behalf of the advisee” and the Code

requires the “parties . . . to ask and respond to questions on their own behalf, without

representation by their advisor.”13

           19.   The investigator prepares a “draft Investigative Packet” at “the

conclusion of the investigation” using the “material information gathered during the

investigation,” which does not “contain any findings of responsibility/non-

responsibility.”14

           20.   The Code requires that the parties be provided with the “opportunity to

meet with the assigned investigator in order to review the draft Investigative Packet,

submit additional information or comments, identify additional witnesses or

evidence for the investigator to pursue, and submit any additional questions that they

believe should be asked of any other party or witness.15 The assigned investigator

incorporates “any revisions or new information into a final Investigative Packet

within five (5) business days, if possible. The parties will be provided with an

opportunity to review any new information that is added to the Investigative Packet

before it is finalized.”16




12 Id. at pg. 4.
13 Id.
14
   Penn State Student Title IX Report Procedures at http://titleix.psu.edu/psu-title-ix-procedures/.
15   Id.
16   Id.


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           21.    The investigator closes the investigation and forwards the final packet

to an OSC “Case Manager” whose job it is “to recommend charges and sanctions,

to serve as University presenters in (Title IX) hearing(s), and to monitor and mandate

the completion of assigned sanctions.”17

           22.    The case manager recommends charges and sanctions if s/he

determines that the investigative packet “reasonably supports a code of conduct

violation.”18 Although the Code contains an extensive “definition” section, it does

not define “reasonably supports.”

           23.    If charges are issued, both the Respondent and Complainant are

provided with the opportunity to meet with the case manager to discuss the process

and they are notified of their right to submit a written “response to the charges”

within five business days. 19

           24.    If a respondent contests the charges, the case manager refers the case

and the packet to a Title IX Decision Panel (“Panel”) for a hearing that could result

in sanctions “ranging from Suspension to Expulsion”. The Panel consists of three

University “staff” or “faculty” authorized by, and under the control of, the OSC’s

Senior Director to adjudicate a respondent’s responsibility and sanction.20


17Exhibit C, 11/3/16 OSC policy, pg. 3.
18 Id. at pg. 13. Penn State Student Title IX Report Procedures at http://titleix.psu.edu/psu-title-ix-
procedures/.
19   Id.
20   Exhibit C, 11/3/16 OSC policy, pg. 3, 13-14.


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         25.        The Code delegates prosecutorial, adjudicative and sanctioning roles to

the OSC; the OSC provides the “prosecutor” presenter to a Panel it selects and that

operates under its authority, along with its “pre-hearing” finding that the

investigative report “reasonably supports” a finding that the respondent violated the

Code of Conduct.

         26.        The Code prohibits the parties from calling witnesses during the

hearing, limiting participation to the parties alone and limiting the scope of any

presentation to “highlight[ing] the information that they feel is most relevant to the

hearing authority’s deliberation” and “respond[ing] to questions that may be posed

by the hearing authority and the Investigator, if any.”21

         27.        Although the complainant and respondent may submit questions to be

posed to the other party, the Panel will only consider them as a suggestion.22 The

parties or their advisors may not question, cross examine or confront the other party.

The Panel alone determines what proposed questions it will ask and will refuse to

pose any proposed question that they don’t believe to be both “relevant” and

appropriate.” The Code does not define “relevance” or “appropriateness.”23 The

Code contains no provision for a party to ask or pose a follow-up question or present

a rebuttal to information a party provides in response to a Panel-posed question.


21 Id. at pg. 14.
22
   Id.
23
   Id.


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         28.        The Panel uses a “preponderance of the evidence” standard in

determining whether the respondent is responsible for the charged misconduct.24

         29.        The Panel determines a sanction if it finds the Respondent responsible

for violating the Code of Conduct. The parties are informed in writing of the hearing

authority’s decision and their rights to appeal the decision.25

         30.        The Code designates a Student Conduct Appeals Officer to review the

record. The Officer may not modify or reverse the Panel’s decision “without

consultation with the Vice President for Student Affairs, (OSC’s) Senior Director,

or Chancellor.”26

         31.        At the conclusion of any appeal process, both parties are notified in

writing of the outcome of the process.27 There is no further avenue for review

following disposition of the appeal.

C.       The Incident

         32.        In the fall of 2015, John Doe enrolled as an 18-year-old freshman at

Penn State's Altoona campus following his high school graduation.

         33.        During his first semester, Doe and Jane Roe, also a Penn State Altoona

freshman, interacted in some shared classes. At this time, John Doe was in a

relationship with another individual and Roe and Doe were acquaintances only.


24
   Id. at pg. 15.
25
   Id.
26
   Id. at pg. 19.
27
   Id.


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      34.    In the Spring of 2016, after his prior relationship ended, John Doe and

Jane Roe socialized more routinely and became closer friends.

      35.    John Doe and Jane Roe briefly ceased corresponding or associating

with each other when John Doe reconciled with his former girlfriend. This hiatus

extended until Mr. Doe and his then girlfriend broke up toward the end of Doe’s

freshman year.

      36.    From August 2016 until approximately November 2016, Doe and Roe

began an on-again, off-again, predominately sexual, “friends with benefits”

relationship, meeting and engaging in sexual intercourse and texting about sex on

multiple occasions.

      37.    On November 9, 2016, Roe texted Doe that she had “feelings” for him

and wanted an exclusive relationship with him. Doe texted Roe that he “didn’t want

a serious relationship . . . . [i]f you want we can be friends with benefits and laugh.”

      38.    On November 11, 2017, Roe responded, “Then fine we can be friends

with benefits if that’s what you want but know I won’t be fucking other people right

now that’s not what I want but you can do it on your end if you want.” Doe texted,

“Sounds good then” to which Roe responded, “Fine then.”

      39.    On Saturday, November 12, 2016 at about 7:00 p.m., Jane Roe arrived

at Plaintiff’s apartment and proceeded directly to Doe’s bedroom.




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          40.     Roe and Doe both agreed that they then engaged in consensual sexual

intercourse.

          41.     After intercourse, Roe stated that they talked for approximately 3

minutes after which she claims that Doe penetrated her anus, “maybe half,” without

her consent. Doe denies these claims.

          42.     Roe left Doe’s apartment and went first to a friend’s dorm room and

then to a party later in the evening.

          43.     Roe continued to text Doe following the incident. She contacted him

two days later and then again four days later asking him what he was doing and

telling him “Mm ok goodnight [Doe],” after he texted her that he was going to sleep.

          44.     On December 4, 2016, Roe texted Doe to see if they could “talk” and

he responded, “No, please leave me alone, I found someone that’s why I don’t

respond to your texts. [S]top talking to me.”28

          45.     Roe reinitiated text contact with Doe again in July 2017, asking him

whether they could “talk.” Doe responded “Yeah, but I have a girlfriend.” Roe

stated that she replied, “I hope that you don’t hurt her like you hurt me.” When Roe

described to Mr. Harris what she meant by that statement she said that she was

referring to their November 2016 sexual contact. Roe stated that Doe told her that

he did not “remember it happening that way.” When asked by the investigator about


28   Exhibit D, text messages.


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this conversation, Roe told him that Doe brought up her refusal to have anal sex with

him that night despite the fact that she told him she had had anal sex with a mutual

friend. Doe has consistently denied Roe’s accusations of anal penetration -- even in

this private conversation and prior to any awareness that Roe would later accuse him

of a sexual assault.

C.     Roe’s Complaint and the University’s Disciplinary Process

       46.     On September 12, 2017, ten months after the November 12, 2016,

sexual encounter, Roe filed a complaint with Penn State's Office of Student Conduct

alleging that Doe penetrated her anus without her consent during their otherwise

consensual sexual encounter.

       47.     The Office of Student Conduct referred the matter to the Office of

Sexual Misconduct Prevention and Response for investigation.

       48.     Then "Title IX Compliance Specialist" Christopher Harris29 conducted

the University’s Title IX investigation, which included interviewing Roe twice, and

interviewing Doe, Roe’s roommate and Roe’s friend on one occasion. Mr. Harris

also reopened the investigation after it was completed to interview Roe a third time.

       49.     During one of her interviews, Roe claimed to have sought medical

attention following the encounter and Mr. Harris requested copies of treatment


29
   In the summer of 2018, Christopher J. Harris was named the University’s new Title IX Coordinator
succeeding Danny Shaha, who served in the role of Title IX Coordinator following the departure of Paul
Apicella in 2017.


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records. Although Roe told Mr. Harris she would provide the records, she later

refused and, on information and belief, refused to authorize Mr. Harris to speak with

any medical provider. Roe later conceded that during the medical encounter she had

not told her treatment provider that the sexual acts she engaged in were

nonconsensual.

          50.     Mr. Harris prepared a November 9, 2017, draft "Investigative Report”

which Doe was required to review on or before December 1, 2017, and to provide

any responses within 5 business days.30

          51.     On information and belief, from approximately November 15, 2017

through January 14, 2018, Mr. Harris attempted to contact Roe regarding several

issues raised by Doe during the investigation and to give her the 5-day opportunity

to comment on the draft. As a result of Roe’s failure to respond, Mr. Harris

apparently closed the investigation and forwarded the Investigative Packet to OSC

Interim Senior Director Karen Feldbaum, who has since become the OSC’s Senior

Director.31

          52.     On January 14, 2018, Roe responded to Mr. Harris’ request for

additional information. Despite the fact that Mr. Harris had already forwarded the

packet to OSC, and that two months had elapsed since he first began trying to engage



30
     See Exhibit E, email communications.
31
     See Exhibit F, email communications.


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her, Mr. Harris reopened the investigation and provided Roe with an opportunity to

review the report and to explain discrepancies in her and her witness’ accounts. Roe

and Mr. Harris met on January 19, 2018 and Mr. Harris “asked her a couple of

follow-up questions that [he] had planned to ask her if [they had] met at an earlier

date.”32

           53.   Mr. Harris revised the draft following the meeting making it more

favorable to Roe.        For example, Mr. Harris deleted the previously included

information detailing Roe’s failure to respond to him. Mr. Harris also edited the

report to include Roe’s reconciliation of significant inconsistencies in the

Investigative Report.

           54.   OSC accepted the edited report: 1) despite Roe’s failure to engage with

Mr. Harris for approximately seven weeks before he closed the investigation and

forwarded the packet to OSC; and 2) a week after the investigation had been closed.

           55.   In violation of the Code, Mr. Harris submitted the edited report to OSC

without providing Doe with an opportunity to respond or to submit additional

information in response to the packet changes.

           56.   During a February 27, 2018, meeting with case manager Feldbaum,

Feldbaum advised Doe that she felt that the investigation packet “reasonably

supported” a conclusion that he had violated two code policies:                    02.05


32
     Id.


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Nonconsensual Intercourse and 02.06 Nonconsensual Confinement or Restraint for

Sexual Purposes and set his sanction at an indefinite expulsion for a period not less

than a year.

          57.     Doe advised Feldbaum that he wished to contest the charges.

          58.     By email dated March 16, 2018, Doe requested that Ms. Feldbaum

permit Mr. Harris to reopen the investigation (like he had done for Ms. Roe) so that

he could provide his version of events and respond to the “new information” that

Ms. Roe was encouraged to provide following the initial close of the investigation.33

On March 26, 2018, Ms. Feldbaum denied his request without explanation.

          59.     On April 2, 2018, Mr. Doe provided a written response to the charges

which included a statement and text messages from November 9, 2016, a few days

before the incident, and several text messages from after the incident.

          60.     The OSC selected the members of a Title IX Decision Panel to preside

over Doe’s April 20, 2018, “hearing.” Prior to the hearing, the OSC provided the

investigative packet to the Panel and advised them that it had already concluded that

the investigation “reasonably supported” a finding that Doe had violated the code of

conduct by engaging in nonconsensual sexual intercourse and by restraining Roe for

sexual purposes.




33
     Exhibit G, email communications.


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      61.      During the April 20, 2018 hearing, Roe addressed the panel but

provided no information regarding the underlying conduct and allegations. The

Panel did not ask her to provide information regarding the incident and did not ask

her any questions.

      62.      Although Doe wanted to confront and cross-examine Roe regarding the

statements attributed to her in the investigative packet, the Code prevented him from

doing so.

      63.      Although Doe wanted to confront and cross-examine Roe’s witnesses

regarding statements attributed to them in the investigative packet, many of which

directly contradicted Roe, the Code prevented him from doing so.

      64.      The Code’s prohibition against confrontation and cross examination in

Title IX matters is particularly unfair to respondents like Doe in view of the fact that

Penn State permits students facing other types of disciplinary charges, most far less

serious than Doe’s, to request that their own and adverse witnesses testify in person

before a hearing panel and be subjected to confrontation and cross examination.

      65.      Although Doe was permitted to make a statement to the Panel, the Code

limited him to “highlighting” portions of the packet. During his presentation, Doe

argued that his text exchanges with Roe immediately preceding the incident

evidenced that the encounter was not, as the Panel was later to maintain, merely to

“talk.”


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E.        The Panel’s Decision

          66.     On April 26, 2018, the Panel issued a Title IX Hearing Board Report

finding Doe "responsible" for violating the Code by engaging in Nonconsensual

Intercourse with Complainant and “not responsible” for violating 2.06

Nonconsensual Confinement for Restraint for Sexual Purposes. 34

          67.     The Panel found that Roe and Doe had a “sexual relationship” prior to

the incident and that Roe was interested in a romantic relationship. They found that

the contact, including intercourse, just prior to the claimed anal sex was consensual.

They noted that the testimony was inconsistent regarding whether: Doe ever asked

for anal sex; Roe was “trapped on the bed after consensual sex had concluded, and;

Roe’s head was “trapped” against the wall – Roe described it as being “stuck” and

uncomfortable but told others that “her neck was going to break . . . kind of choking”.

          68.     According to the Panel, Doe “convinced” Roe to have “consensual”

sexual intercourse and that afterward he “tried to have anal.” (quotes in the original).

The Panel noted that Roe claimed that Doe penetrated her rectum “maybe half” and

that she was “more credible” and that it was "more likely than not" that Doe

penetrated or physically attempted to anally penetrate her.

          69.     The Panel determined that Doe was the “sexual pursuer” because he

was interested in “only a sexual relationship with [Roe] despite her desire for a


34
     The decision of the Panel is attached hereto as "Exhibit H."


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romantic relationship” and that there was a “pattern . . . of asking for sex and needing

to convince her, ending with non-consensual anal intercourse. . . . ”.

      70.    Although the Panel found that the vaginal intercourse was consensual,

and it had contemporaneous text message exchanges explicitly confirming that Roe

agreed to a “friends with benefits” relationship with Doe a few days before the

incident, they also concluded that Roe’s sole reason for going to Doe’s apartment on

November 12th was to “talk” rather than to engage in sex as they had discussed.

      71.    Although the Panel had Roe’s text messages indicating that she was

still interested in a romantic relationship with Doe beginning days immediately

following the incident and ending 8 months later in July of 2017, two months before

she levied her complaint, it nonetheless found persuasive that Doe “showed a pattern

of distress in seeing [Doe]” after the incident.

      72.    Although the Panel noted that Doe had raised text message exchanges

with Roe on November 10 and 11 as evidence that she was not there merely to “talk,”

they refused to consider the testimony because he did not provide copies of the texts.

      73.    The Panel suspended Doe from Penn State from Summer 2018 through

Spring 2019; banned him from the University Park campus even after the suspension

was completed if Roe was still enrolled at that campus, and; ordered him to complete




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an "assessment and any recommended treatment” and to provide a “favorable

evaluation for return."35

F.        The Appeal

          74.      On May 3, 2018, Doe submitted his timely appeal36 to the OSC which,

in turn, referred it to Yvonne Gaudelius, currently identified on Penn State’s website

as Associate Vice President and Senior Associate Dean for Undergraduate

Education. http://undergrad.psu.edu/directory.html.

          75.      By decision dated May 15, 2018, Ms. Gaudelius denied the appeal and

affirmed the sanctions with the exception of removing the University Park ban and

imposing various stay-away provisions in its stead.

          76.      In her decision, Ms. Gaudelius noted that Doe’s appeal raised

“procedural errors,” “new evidence,” and the “sanction.”

          77.      In denying the appeal, Ms. Gaudelius wrote, in a boilerplated

memorandum and without explanation, “that there was no failure to follow stated

procedures, such that the outcome would have been different.”




35
     Id.
36
     Exhibit I, Appeal.


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                                  CAUSES OF ACTION

             Violation of the Fourteenth Amendment and 42 U.S.C. §1983

       78.     Plaintiff repeats and re-alleges each and every allegation hereinabove

as if fully set forth herein.

       79.     The Fourteenth Amendment to the United States Constitution provides

that no State shall "deprive any person of life, liberty, or property without due

process of law."

       80.     Plaintiff has a property interest protected by the Fourteenth

Amendment in continuing and finishing his education at Penn State University.

       81.     Plaintiff has a liberty interest protected by the Fourteenth Amendment

in continuing and finishing his education at Penn State University.

       82.     A gap or lapse in education that a student will have to explain forever

constitutes irreparable harm and consequently deprive the student of his or her

property and liberty interests.

       83.     Student disciplinary proceedings at state-funded universities must be

conducted in conformity with the Due Process Clause of the Fourteenth Amendment.

Goss v. Lopez, 419 U.S. 565 (1975).

       84.     The Fourteenth Amendment to the United States Constitution provides

that no state shall “deprive any person of life, liberty, or property, without due

process of law.”


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      85.      The process due and denied to Mr. Doe during the Title IX

investigation, hearing and appeal included the right to:

                a. call witnesses on his own behalf;

                b. confront and cross examine his accuser and adverse witnesses;

                c. a fair, unbiased and unconflicted tribunal comprised of individuals
                   who are separate and apart from, and not under, the auspices of the
                   University’s Office of Student Conduct “prosecutor”;

                d. the presumption of innocence;

                e. the active and meaningful participation of his attorney “advisor”,
                   including their right to cross examine adverse witnesses;

                f. the equal opportunity to review and respond to evidence;

                g. an objective evaluation of all relevant evidence including
                   exculpatory evidence, and;

                h. equal access to review all of the evidence collected by the
                   investigator, including the investigative report, and an equal
                   opportunity to respond to that evidence before a determination is
                   made.

      86.      Penn State's policies and procedures for adjudicating "Title IX

allegations" limit an accused student's right to be heard in disciplinary proceedings

to the right to be heard only on matters deemed "relevant" and "appropriate" by a

"Title IX Compliance Specialist" and included in the "Investigative Packet," the

exclusive vehicle for factual submissions to the "Title IX Decision Panel." Indeed,

during the “hearing”, the parties are permitted only to “highlight” portions of the

packet.

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      87.    OSC Interim Senior Director Feldbaum’s denial of Doe’s request to

reopen the investigation to review and respond to changes Mr. Harris made to the

investigative packet resulting from the January 19, 2018 discussions with Roe

violated his rights under Penn State’s disciplinary policy.

      88.    The Title IX Decision Panel's knowledge that Ms. Feldbaum had

already determined that the charges of Nonconsensual Intercourse and Restraint

were "reasonably supported" by the evidence and had communicated her finding to

a Panel under her control, abrogated Mr. Doe’s rights to a fair, unbiased and neutral

process.

      89.    The process due to Doe in the April 20, 2017, disciplinary proceeding

included the right to a standard of proof commensurate with the interests at stake,

namely, proof by clear and convincing evidence.

      90.    Particularly in light of the Panel's knowledge that Ms. Feldbaum had

determined that the charge of Nonconsensual Intercourse was "reasonably

supported" by evidence, the preponderance-of-evidence standard of proof employed

by the Panel was inadequate to guard against erroneous deprivation of Doe’s

property and liberty interests.

      91.    Defendant’s violation of Doe’s right to due process during the

disciplinary process resulted in an erroneous finding of culpability and his removal




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from Penn State, causing him to suffer far-reaching educational, vocational,

reputational, and economic harm.

       92. As a direct and proximate result of the above conduct, John Doe

sustained damages, including, without limitation, emotional distress, loss of

educational and career opportunities, economic injuries and other direct and

consequential damages.

      As a result of the foregoing, John Doe is entitled to damages in an amount to

be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

disbursements and an injunction enjoining enforcement of the sanctions and

requiring an expungement of his disciplinary record.

                             DEMAND FOR RELIEF

WHEREFORE, this Court should:

      (i)     declare, for the foregoing reasons, that the Defendant violated

Plaintiff's Fourteenth Amendment right to due process of law;

      (ii)    issue an injunction requiring that the Senior Director of the Office of

Student Conduct vacate the Title IX Decision Panel's April 20, 2018, finding that

Plaintiff was "responsible" for violating the Code of Conduct by engaging in

Nonconsensual Intercourse;

      (iii)   issue an injunction requiring that Penn State reinstate Plaintiff as a

student in good standing at Penn State;


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       (iv)   issue an injunction requiring that the Senior Director of the Office of

Student Conduct expunge all aspects of Plaintiff's student disciplinary file pertaining

to the allegations leveled against him by Complainant;

       (v)    award to Plaintiff monetary damages, attorney's fees, and costs of suit;

and;

       (vi)   award such further relief as deemed necessary and just by this Court.



                                               Respectfully Submitted,


December 10, 2018                              s/ Andrew Shubin
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